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                  Blizzard Entertainment, Inc.
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                7
                8                       UNITED STATES DISTRICT COURT
                9                      CENTRAL DISTRICT OF CALIFORNIA
               10                                SOUTHERN DIVISION
               11
               12 BLIZZARD ENTERTAINMENT, INC.,                 CASE NO.
               13               Plaintiff,                      COMPLAINT
                         v.
               14 JOYFUN INC CO., LIMITED a/k/a SINA            Demand For Jury Trial
               15 GAMES      OVERSEAS (新浪游戏海外), a
                  company organized under the laws of
               16 Hong   Kong; ZROAD (HONGKONG)
                  CO., LIMITED d/b/a INSTANTFUNS, a
               17 company    organized under the laws of
                  Hong Kong; INTELLIGENT JOYFUL
               18 INTERNATIONAL          LIMITED, a company
                  organized under the laws of the British
               19 Virgin  Islands; ZROAD, INC., a company
                  organized under the laws of the British
               20 Virgin  Islands; SHANGHAI
                  ZHOUZHONG NETWORK
               21 TECHNOLOGY         CO., LTD. (上海洲众网
                  络科技有限公司), a company organized
               22 under  the laws of China; SHANGHAI
                  YINFAN NETWORK TECHNOLOGY
               23 CO.,  LTD. (上海茵繁网络科技有限公
                  司),a company organized under the laws
               24 of China; WANG HAO (王昊) a/k/a
                  HOWELL WANG, an individual;
               25 LUTONG      ZHOU a/k/a CARLY ZHOU, an
                  individual; DOE 1 a/k/a
               26 “simosimo2018ab@gmail.com;”       DOE 2
                  a/k/a SIMDEV; and DOES 3 through 10,
               27 inclusive,
                                Defendants.
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               1             Plaintiff Blizzard Entertainment, Inc. (“Blizzard” or “Plaintiff”), for its
               2 Complaint against Defendants Joyfun Inc Co., Limited a/k/a Sina Games Overseas
               3 (新浪游戏海外); ZRoad (HongKong) Co., Limited d/b/a Instantfuns; Intelligent
               4 Joyful International Limited; ZRoad, Inc.; Shanghai Zhouzhong Network
               5 Technology Co., Ltd. (上海洲众网络科技有限公司); Shanghai Yinfan Network
               6 Technology Co., Ltd. (上海茵繁网络科技有限公司); Wang Hao (王昊); Lutong
               7 Zhou a/k/a Carly Zhou; and Does 1 through 10 (collectively, “Defendants”),
               8 alleges as follows:
               9
               10                                    Preliminary Statement
               11                1.   Blizzard is an Irvine-based video game developer and publisher
               12    whose products include some of the most popular video game franchises in the
               13    world, including the Warcraft series of games and related products. By this
               14    action, Blizzard seeks to put a stop to, and obtain redress for, the massive
               15    infringement of Blizzard’s unique and valuable intellectual property in
               16    Defendants’ mobile and web-based game titled “Glorious Saga” (the “Infringing
               17    Game”).
               18                2.   As set forth herein, Defendants’ infringement of Blizzard’s
               19    copyrights is willful, deliberate, and brazen. Defendants did not just copy a few
               20    discrete elements from Blizzard’s Warcraft games; they created a game whose
               21    content is almost entirely copied from the Warcraft games and related products.
               22    Every character in the Infringing Game was copied from a character from the
               23    Warcraft games, and many even bear the names of popular characters from the
               24    Warcraft games such as “Jaina Proudmoore,” “Gul’dan,” and “Malfurion.” Every
               25    monster, creature, animal and vehicle in the Infringing Game was copied from the
               26    Warcraft Games. Weapons, amulets, and other objects were taken straight from
               27    the Warcraft games, without pretense. Audio cues and sound effects from the
  Mitchell     28    Warcraft games were reproduced for the Infringing Game. Defendants even
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               1     created an icon for their game that plainly is intended to look like the cover of
               2     Blizzard’s most recent World of Warcraft expansion, Battle for Azeroth:
               3
               4
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               7
               8
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               12
               13                3.   Defendants know exactly what they are they doing, and they
               14    specifically know that their conduct is unlawful and infringes Blizzard’s
               15    intellectual property rights. Defendants’ exploitation was purely for commercial
               16    purposes, intended to make their game appealing to potential customers. Those
               17    customers noticed Defendants’ copying, as did Blizzard’s fans, who left dozens of
               18    comments on Defendants’ social media pages such as “Blizzard get your lawyers
               19    in here” and “It is all a DIRECT ripoff of Warcraft.” Defendants often delete
               20    these comments when they are posted, apparently in an effort to conceal what
               21    already is obvious to everyone: that the Infringing Game is a blatant Warcraft
               22    knock-off.
               23                4.   Defendants’ conduct has caused, and unless enjoined will continue to
               24    cause, serious and irreparable harm to Blizzard and its business. In the meantime,
               25    Blizzard is informed and believes, and on that basis alleges, that Defendants have
               26    profited handsomely from their infringement, attracting thousands of consumers to
               27    their Infringing Game through the use of Blizzard’s intellectual property. The
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                1    Court immediately should put a stop to this conduct and award the maximum
                2    damages allowable by law.
                3
                4                                 Jurisdiction and Venue
                5            5.   This is a civil action alleging copyright infringement under the
                6 Copyright Act, 17 U.S.C. § 501. This Court has exclusive subject matter
                7 jurisdiction over these claims pursuant to 28 U.S.C. § 1338.
                8            6.   This Court has personal jurisdiction over Defendants, including
                9 because Defendants have engaged in, contributed to, and induced the infringing
               10 conduct at issue within the United States and the State of California and have
               11 purposefully directed their activities at the United States and at California. Among
               12 other things, Blizzard is informed and believes, and on that basis alleges, that:
               13                 (a)   Each of the Defendants or their respective agents are doing or
               14 have been doing business continuously in the State of California and the United
               15 States, including by distributing the Infringing Game on California-based
               16 platforms such as Google Play; selling or helping to sell “virtual” items or currency
               17 to customers located in the United States; marketing their infringing products to
               18 U.S. and California customers; and advertising their infringing content via U.S.-
               19 based digital platforms such as California-based Facebook.
               20                 (b)   Defendants have entered into contracts with persons or entities
               21 in the United States, including advertisers, Internet service providers, payment
               22 processors, and software providers.
               23                 (c)   Defendants have entered into financial transactions with
               24 persons and entities in the United States.
               25                 (d)   Defendants have engaged in a variety of infringing acts, or have
               26 facilitated, contributed to, induced, or controlled infringing acts in the State of
               27 California and the United States, such as knowingly uploading infringing content
  Mitchell     28 to mobile platforms such as the Google Play Store, Facebook, Amazon.com, and
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                1 Twitter; licensing infringing content to persons or entities in the United States; and
                2 knowingly financing, supporting, and otherwise causing the production, marketing
                3 and distribution of infringing content with knowledge of its infringing nature.
                4                 (e)   Defendants know that the damages and other harmful effects of
                5 Defendants’ infringing activities occur in the United States and primarily in
                6 California, where Blizzard has its principal place of business and where it has a
                7 substantial number of customers.
                8            7.   Venue in this Court exists under 28 U.S.C. § 1391(b)(2) because a
                9 substantial part of the events giving rise to the claims alleged in this Complaint
               10 occurred in this District, and because Blizzard has suffered injury in this District
               11 and Defendants have directed their infringing activities to residents of this District.
               12
               13                                        The Parties
               14            8.   Blizzard is a Delaware corporation organized and existing under the
               15 laws of the State of Delaware, with its principal place of business in Irvine,
               16 California. Blizzard is a developer and publisher of interactive video and computer
               17 games for a variety of platforms, including personal computers, game consoles,
               18 and mobile devices.
               19            9.   Blizzard is informed and believes, and on that basis alleges, that
               20 defendant JoyFun Inc Co., Limited a/k/a Sina Games Overseas ( 新浪游戏海外)
               21 (“Sina Games”) is incorporated under the laws of Hong Kong, and has a corporate
               22 address at Unit 417, 4th Floor, Lippo Centre, Tower Two, No. 89, Queensway,
               23 Admiralty, Hong Kong. Blizzard is informed and believes, and on that basis
               24 alleges, that Sina Games is a direct or indirect subsidiary of Sina Corp., a software
               25 and technology company that is traded on the NASDAQ stock exchange. Sina
               26 Games is in the business of developing and distributing video games for the
               27 international marketplace outside of China, including the United States. Blizzard
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                1 also is informed and believes, and on that basis alleges, that Sina Games is a
                2 developer, distributor, and/or publisher of the Infringing Game.
                3            10.   Blizzard is informed and believes, and on that basis alleges, that
                4 defendant ZRoad (HongKong) Co., Limited d/b/a InstantFuns (“InstantFuns”) is
                5 incorporated under the laws of Hong Kong, with a corporate address at Flat/Rm
                6 1113A 11/F Ocean Center, Harbour City, 5 Canton Rd., Tsim Sha Tsui, Kowloon.
                7 InstantFuns claims to be the current owner of the copyright in the Infringing Game
                8 and is among the developers, distributors, and/or publishers of the Infringing
                9 Game.
               10            11.   Blizzard is informed and believes, and on that basis alleges, that
               11 defendant Intelligent Joyful International Limited (“IJIL”) is incorporated under
               12 the laws of the British Virgin Islands, with corporate addresses at Vistra Corporate
               13 Services Centre, Wickhams Cay II, Road Town, Tortola, VG1110, British Virgin
               14 Islands, and Blvrd Gral Rodolfo Sánchez Taboada 1600, 22000 Tijuana, B.C.
               15 Blizzard is informed and believes, and on that basis alleges, that IJIL has its
               16 principal place of business in Hong Kong, China. IJIL has purported to be among
               17 the owners or prior owners of the copyright in the Infringing Game and is among
               18 the developers, distributors, and/or publishers of the Infringing Game.
               19            12.   Blizzard is informed and believes, and on that basis alleges, that
               20 defendant ZRoad, Inc. (“ZRI”) is incorporated under the laws of the British Virgin
               21 Islands, and has a corporate address at Vistra Corporate Services Centre,
               22 Wickhams Cay II, Road Town, Tortola, VG1110, British Virgin Islands. Blizzard
               23 is informed and believes, and on that basis alleges, that ZRI is a direct or indirect
               24 subsidiary or affiliate of Instantfuns and/or of Sina Games and that it is a
               25 developer, distributor, and/or publisher of the Infringing Game.
               26            13.   Blizzard is informed and believes, and on that basis alleges, that
               27 defendant Shanghai Zhouzhong Network Technology Co., Ltd. (上海洲众网络
  Mitchell     28 科技有限公司) (“SZNT”) is incorporated under the laws of the People’s Republic
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                1 of China. Blizzard is informed and believes, and on that basis alleges, that SZNT
                2 is wholly owned by Sina Games and is a developer, distributor, and/or publisher of
                3 the Infringing Game.
                4            14.   Blizzard is informed and believes, and on that basis alleges, that
                5 defendant Shanghai Yinfan Network Technology Co., Ltd. (上海茵繁网络科技有
                6 限公司) (“SYNT”) is incorporated under the laws of the People’s Republic of
                7 China. Blizzard is informed and believes, and on that basis alleges, that SYNT is
                8 owned, controlled, or otherwise affiliated with Sina Games, is a developer,
                9 distributor, and/or publisher of the Infringing Game, and is responsible for the
               10 distribution of the Infringing Game (or a version thereof) via the Microsoft App
               11 store.
               12            15.   Blizzard is informed and believes, and on that basis alleges, that
               13 defendant Wang Hao (王昊) a/k/a Howell Wang (“Wang”) is an individual located
               14 at (1) Room 605, No. 518, Anyuan Rd. Putuo District, Shanghai, China, and/or (2)
               15 Room 404, No. 100 Jiangsu North Road, Changning District, Shanghai, China.
               16 Blizzard is informed and believes, and on that basis alleges, that Wang, a citizen of
               17 Canada, is a founder, owner, director, and officer of Sina Games, Instantfuns, and
               18 other Defendants; acts as chief executive officer of Sina Games and of SZNT; was
               19 directly involved in the creation, distribution, and/or marketing of the Infringing
               20 Game; and/or directed the infringement described in this Complaint or a
               21 controlling force behind such infringement.
               22            16.   Blizzard is informed and believes, and on that basis alleges, that
               23 defendant Lutong Zhou a/k/a Carly Zhou is an individual located at (1) 63 Cariglia
               24 Trail, Markham, Ontario, Canada, and/or (2) 15 Greenview Ave, AP1112 North
               25 York, Ontario, M2M 4M7, Canada. Blizzard is informed and believes, and on that
               26 basis alleges, that Zhou is a founder, owner, director, and officer of Instantfuns and
               27 other Defendants; created, registered, and currently administers the website for the
  Mitchell     28 Infringing Game; was directly involved in the creation, distribution, and/or
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                1 marketing of the Infringing Game; and/or directed the infringement described in
                2 this Complaint or was a controlling force behind such infringement.
                3            17.   The true names and capacities, whether individual, corporate,
                4 associate, or otherwise, of defendants sued herein as Does 1 through 20, inclusive,
                5 are unknown to Blizzard, which sues said defendants by such fictitious names (the
                6 “Doe Defendants”). If necessary, Blizzard will seek leave to amend this complaint
                7 to state their true names and capacities. Blizzard also is informed and believes,
                8 and on that basis alleges, that Doe 1 a/k/a simosimo2018ab@gmail.com and Doe 2
                9 a/k/a “SIMDEV” are individuals or entities directly engaged in the development,
               10 promotion, and distribution of the Infringing Game (particularly via the
               11 Amazon.com App Store), and that all of the Doe Defendants are liable to Plaintiffs
               12 as a result of their participation in all or some of the acts hereinafter set forth. (All
               13 of the Defendants, including the Doe Defendants, collectively are referred to herein
               14 as “Defendants”).
               15            18.   Blizzard is informed and believes, and on that basis alleges, that at all
               16 times mentioned in this complaint, all of the Defendants acted in concert to
               17 knowingly cause, facilitate, control, induce, or otherwise participate in the
               18 infringement alleged in this Complaint.
               19
               20                                   Blizzard and its Games
               21            19.   Blizzard is a computer game developer and publisher, engaged in the
               22 business of developing, producing, marketing and distributing high-quality
               23 computer and video games. Among Blizzard’s products are the games in the
               24 Warcraft game franchise (the “Warcraft Games), which include the strategy game
               25 Warcraft III, the online role-playing game World of Warcraft (and its expansions),
               26 the online collectible card game Hearthstone. The Warcraft Games are among the
               27 most successful games ever created, have been played by millions of people
  Mitchell     28 around the world, and have won countless industry awards.
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                1            20.   The first Warcraft Game, Warcraft: Orcs and Humans, was released
                2 in 1994, followed by Warcraft II in 1995, and Warcraft III in 2002. Warcraft I, II,
                3 and III are computer strategy games, in which the player takes control of an army
                4 of fantastical humanoids and creatures and engages in battle with opponents across
                5 a persistent series of mythical landscapes. Warcraft III is one of the most popular
                6 strategy games in the world, including in China, and has been played, and
                7 continues to be played, by millions of people around the world.
                8            21.   In 2004, Blizzard released the hugely popular and groundbreaking
                9 game World of Warcraft, an online role-playing game featuring the locations,
               10 characters, creatures, monsters, and “lore” (i.e., mythical history) first developed in
               11 Warcraft III and other Warcraft games. Blizzard has released seven “expansion
               12 packs” to World of Warcraft that continue or expand the game’s story and that
               13 introduce new characters, regions, monsters, and other game content. The most
               14 recent World of Warcraft expansion (Battle for Azeroth) was released in 2018.
               15 World of Warcraft has been played, and continues to be played, by millions of
               16 people around the world. World of Warcraft remains to this day one of the most
               17 popular online role-playing games in the world (if not the most popular.) World of
               18 Warcraft is particularly popular in China, where certain of the Defendants are
               19 located, and in the United States, which is among the countries targeted by
               20 Defendants.
               21            22.   In addition to the Warcraft strategy games and World of Warcraft,
               22 Blizzard has developed and released the competitive online games Hearthstone
               23 and Heroes of the Storm. These games feature characters, monsters, creatures and
               24 other content from Warcraft III and World of Warcraft. Hearthstone is among the
               25 world’s most popular online collectible digital card games. Heroes of the Storm is
               26 an online team-based multiplayer game in which players can elect to play as one of
               27 many well-known characters from the Warcraft Games. Millions of people around
  Mitchell     28 the world have played, and continue to play, Hearthstone and Heroes of the Storm.
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                1             23.   Blizzard is the owner of valid and subsisting registered copyrights in
                2 each of the Warcraft Games. A list of the Warcraft Games at issue and their
                3 copyright registration numbers is attached hereto as Schedule A.
                4             24.   All of the Warcraft Games take place in the same fictional universe:
                5 the world of “Azeroth.” Azeroth is a massive and detailed fantasy world
                6 containing cities, dungeons, wilderness landscapes, and unusual structures and
                7 buildings. Azeroth is populated by a diverse set of unusual and distinctive
                8 mythical races, creatures, animals, people, monsters, and characters. Azeroth, its
                9 landscapes, its cities, its structures, and its inhabitants are depicted visually within
               10 the Warcraft Games.
               11             25.   In addition to its depiction in the Warcraft Games, the unique
               12 fictional world of Warcraft is expressed, depicted, and further developed in a
               13 variety of licensed fictional works and tie-in products and merchandise such as
               14 comic books, novels, art books, posters, action figures, board games, card games,
               15 tabletop role-playing games, encyclopedias, and a major motion picture.
               16 Collectively, the Warcraft Games and Blizzard’s licensed Warcraft-related works,
               17 products, and merchandise comprise an overarching “Warcraft Universe.” The
               18 creatures, animals, people, monsters, and characters that inhabit or comprise the
               19 Warcraft Universe are depicted and portrayed in a distinct and consistent manner
               20 in the Warcraft Games and in all Warcraft-related tie-in products and merchandise.
               21             26.   Several distinct humanoid or anthropomorphic “races” populate the
               22 Warcraft Universe, including Humans, Elves, Orcs, Trolls, Dwarves, Gnomes,
               23 Tauren, and Pandaren. These various “races” have distinct and unique
               24 appearances, wear distinctive costumes or armor, and ride distinct mounts or
               25 vehicles. For example, Night Elves in the Warcraft Universe appear as tall purple-
               26 skinned humanoids with huge, exaggerated ears and green or blue hair. Orcs
               27 appear as huge, muscular green or brown humanoids with pointed ears and large
  Mitchell     28 protruding teeth or tusks in their lower jaw. Trolls in the Warcraft Universe appear
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                1 as tall but hunched-over, with blue or purple skin, long tusks protruding from their
                2 jowls or lower jaws, long, pointy noses and ears, and large crests of colorful hair.
                3             27.   The Warcraft Universe also includes hundreds of different animal
                4 species, creatures, and monsters. Some creatures and monsters that players of the
                5 Warcraft Games frequently encounter in the Games are “Murlocs,” “Frostwolves,”
                6 “Cinder Kittens,” “Razzashi Raptors,” and “Hawkstriders.” All of these animals
                7 and creatures are depicted in a distinct and consistent manner in the Warcraft
                8 Games and in products depicting the Warcraft Universe.
                9             28.   The Warcraft Universe includes many distinct, recurring, and
               10 immediately recognizable characters, including both heroes and villains. These
               11 characters have unique names and appearances, wear distinctive clothing, use
               12 distinctive “signature” weapons, and have unique powers and abilities. For
               13 example, Illidan Stormrage is a Night-Elf-turned-demon, usually depicted as a
               14 muscular purple-skinned Night Elf with long black hair and intricate tattoos
               15 adorning his torso and arms. He typically wears long frayed pants and a loincloth,
               16 and wields two long, distinct, bladed weapons. Jaina Proudmoore is a blond-haired
               17 human wizard who typically wears a blue dress and hooded cloak and carries a
               18 long staff topped with a glowing ice shard. Sylvannas Windrunner is a Night Elf
               19 who carries a distinctive bow, has glowing eyes, and wears a hooded cloak and
               20 purple armor. Many of these unique Warcraft characters are depicted in action
               21 figures, comic books, novels, and artwork.
               22             29.   Many other distinct and protectable elements are embodied and
               23 encompassed within the Warcraft Games and Warcraft Universe. These include,
               24 but are not limited to, fictional locations and landmarks such as the city of
               25 Stormwind; in-game “icons” (small pieces of artwork) that represent spells,
               26 abilities, weapons, amulets, or other items usable by players; unique-looking
               27 vehicles or rideable “mounts” such as airships, “Mekgineer Choppers,” and giant
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                1 turtles; dungeons such as “Blackwing Lair” or the “Temple of Ahn’qiraj”; and
                2 distinct sound and musical effects.
                3             30.   Each of the creatures, characters, races, monsters, locations, icons,
                4 sound files, artwork, objects, buildings, vehicles, weapons, and other assets that
                5 comprise the Warcraft Games and Warcraft Universe are the product of extensive
                6 talent, creativity, and artistry on the part of Blizzard’s artists, programmers, digital
                7 modelers, and sound designers. As such, they represent Blizzard’s unique and
                8 protectable creative expression.
                9
               10                           Defendants and The Infringing Game
               11             31.   Because of the immense popularity of the Warcraft Games and
               12 Warcraft Universe, unethical game developers or publishers often attempt to trade
               13 off of Blizzard’s intellectual property by appropriating for their games characters,
               14 creatures, monsters, or other creative elements from the Warcraft Games and
               15 related products. Defendants’ Infringing Game is among the latest to do so.
               16             32.   Blizzard is informed and believes, and on that basis alleges, that
               17 Defendants are a group of affiliated companies that together are in the business of
               18 developing, marketing, distributing, and monetizing mobile or web-based games
               19 designed to be played on mobile phones or computer Internet browsers.
               20 Defendants’ games have been, and currently are, played by individuals around the
               21 world, including individuals located in the United States. Many of Defendants’
               22 games are based on or include characters from well-known entertainment
               23 franchises such as “Pokémon,” “Yu-Gi-Oh!,” and “Naruto.” Blizzard is informed
               24 and believes, and on that basis alleges, that Defendants exploit all of these third
               25 party intellectual properties without license or authorization from the copyright
               26 owners. Thus a substantial part of Defendants’ business (if not the entirety of their
               27 business) is making and selling knock-off games that infringe popular
  Mitchell     28 entertainment properties.
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                1             33.   Blizzard is informed and believes, and on that basis alleges, that
                2 Defendants are the developers, publishers, and/or distributors of “Glorious Saga,”
                3 the Infringing Game. Defendants or those working in concert with them released
                4 the Infringing Game to the public in or about October 2018. At the time of its
                5 release, the Infringing Game was made available to be played by any member of
                6 the public around the world through Defendants’ website
                7 (https://pc.gs.instantfuns.com/) (the “InstantFuns Website”). Defendants also
                8 made the Infringing Game available to members of the public via the Amazon App
                9 Store and through an Instantfuns mobile “portal” downloadable from the Google
               10 Play store and other Android distribution platforms. Players can access and play
               11 the Infringing Game either by using a web browser on a personal computer, or by
               12 using a mobile phone or other portable device with an Internet connection.
               13             34.   Blizzard is informed and believes, and on that basis alleges, that no
               14 later than October 2018, Defendants began a marketing campaign for the
               15 Infringing Game. Defendants’ marketing campaign included a dedicated website
               16 and a dedicated Facebook page. Defendants also entered into contracts with third-
               17 party payment services such as Xsolla, SafeCharge, and Gate2Shop, in order to
               18 enable customers around the world to spend money in connection with the
               19 Infringing Game without paying Google or Amazon, in violation of their developer
               20 agreements with these platforms.
               21             35.   Defendants offer the Infringing Game on a “free-to-play” basis.
               22 Defendants do not charge users to play the Infringing Game. Instead, Defendants
               23 generate revenue by selling to their users (for actual currency) virtual currency in
               24 the form of “Khorium” gems. This virtual currency then can be used to acquire or
               25 unlock new characters, character upgrades, weapons, and character customizations
               26 such as clothing and armor. Defendants sell “packs” of in-game currency for
               27 amounts ranging from $1.99 for 237 Khorium to $399.99 for 15,999 Khorium.
  Mitchell     28 Defendants’ business thus relies on attracting a large body of users to download
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                1 their games, intending that some portion of those users will play the game for a
                2 sustained period of time and spend money to unlock or acquire additional content.
                3             36.   In the Infringing Game, players take control of a computer-animated
                4 hero or team of heroes assembled from a roster of characters. Players then use
                5 their hero to battle monsters and other antagonists across two-dimensional
                6 computer-generated locations. As the player continues to play the Infringing
                7 Game, he or she unlocks new heroes and skills, acquires new weapons, armor, or
                8 magical trinkets, and gains the ability to visit new locations or “dungeons.”
                9             37.   Blizzard is informed and believes, and on that basis alleges, that at all
               10 relevant times Defendants had access to the Warcraft Games and other licensed
               11 Warcraft products and were aware of their massive popularity throughout the
               12 world. Without license or authorization from Blizzard, Defendants incorporated or
               13 copied into the Infringing Game and marketing materials for the Infringing Game
               14 (including Defendants’ website and Facebook page) dozens, if not hundreds, of
               15 visual, audiovisual, musical, artistic and other expressive elements that were
               16 directly copied from and/or substantially similar to, those contained or depicted in
               17 the Warcraft Games or the Warcraft Universe.
               18             38.   Among the protected elements that Defendants appropriated from the
               19 Warcraft Games and the Warcraft Universe are visual depictions of Blizzard’s
               20 characters, races, creatures, animals, and monsters; Blizzard’s in-game artwork or
               21 concept artwork; Blizzard’s in-game icon artwork; visual depictions of locations
               22 and landmarks which appear in Blizzard’s games; and Blizzard’s sound and/or
               23 music files. In many instances, Defendants describe their in-game content using
               24 the same names, titles, or descriptions used by Blizzard in the Warcraft Games or
               25 the Warcraft Universe. A few examples are illustrated below:
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               8
                                    “Event Boss” from              Illidan Stormrage from
               9                      Glorious Saga                   World of Warcraft

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               14
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               16
               17
                                  Malfurion from Glorious         Malfurion from Heroes of
               18                                                        the Storm
                                           Saga
               19
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               27
                                  Gul’dan/Orc Warlock from         Gul’dan from World of
  Mitchell     28                       Glorious Saga                    Warcraft
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                                    Hellscream’s Warsong                   Grommash Hellscream
               11                    from Glorious Saga                   from World of Warcraft
               12
               13
                              39.     The foregoing is just a sampling of Defendants’ infringement. The
               14
                     full extent of Defendants’ copying can be appreciated only by review of the
               15
                     Infringing Game and promotions for the Infringing Game posted on Defendants’
               16
                     websites and social media pages. By way of example, and without limitation,
               17
                     Blizzard alleges that the similarities depicted in Exhibit 1, attached hereto and
               18
                     incorporated by reference herein, are additional representative samples of
               19
                     Defendants’ pervasive infringement of the Warcraft Games.
               20
                              40.     In addition to copying individual characters, creatures, races, and
               21
                     other protectable elements of the Warcraft Games, Defendants copied the overall
               22
                     selection and arrangement of such elements, including but not limited to the
               23
                     collection of characters, races, creatures, monsters, animals, spells, powers,
               24
                     weapons, vehicles, armor, amulets and magical trinkets that players encounter in
               25
                     the Warcraft Games, including specific sets of powers and traits that are unique to
               26
                     particular characters and races.
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                1             41.   Blizzard is informed and believes, and on that basis alleges, that
                2 Defendants’ use of Blizzard’s well-known and highly valuable intellectual property
                3 was willful and intentional. Defendants designed and marketed their games with
                4 the intention of capturing the attention of the tens of millions of consumers who
                5 are fans of the Warcraft Games. Because Defendants’ “free-to-play” business
                6 model relies on attracting a large body of users to download their games,
                7 Defendants made a concerted decision to trade off Blizzard’s intellectual property
                8 and to use it to entice potential customers to play the game. For example,
                9 Defendants embed on their website or social media pages “keywords” such as
               10 “World of Warcraft”; use a game icon and logo designed to look like Warcraft
               11 game box covers or key art; and regularly post promotional images that feature
               12 Warcraft characters. As a result, all or virtually all of the revenue received by
               13 Defendants is attributable to the infringement.
               14             42.   Blizzard is informed and believes, and on that basis alleges, that
               15 Defendants also know that their game infringes Blizzard’s copyrights and that their
               16 conduct is unlawful. Members of the public repeatedly have commented on the
               17 similarities between the Warcraft Games and the Infringing Game. As one gaming
               18 publication noted: “Players of World of Warcraft or Warcraft III will see lots of
               19 familiar aspects.”1 Likewise, visitors to Defendants’ social media pages repeatedly
               20 have criticized Defendants for stealing Blizzard’s intellectual property. For
               21 example, among recent posts to Defendants’ Facebook page were the following
               22                   ●      “Wow. What a [expletive] nerve you have to
               23                   blatantly steal the property of another company and claim
                                    it as your own.”
               24
                                    ●     “Blizzard get your lawyers in here.”
               25
               26                   ●     “It is all a DIRECT ripoff of Warcraft… Warcraft
                                    is my favorite and here you are… STEALING IT.”
               27
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                         https://mmohuts.com/game/glorious-saga/.
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               1                    ●     “I’m sure Blizzard would love to see this game!”
               2                    ●     “Wow, rip off World of Warcraft much??”
               3                    ●     “Gotta love all the World of Warcraft content ripoffs.”
               4
                              43.   Blizzard is informed and believes, and on that basis alleges, that
               5
                     Defendants’ representatives have seen and read the comments and discussions
               6
                     about the infringing nature of the Infringing Game, and from time to time delete
               7
                     such comments from their social media.
               8
                              44.   Blizzard is informed and believes, and on that basis alleges, that in an
               9
                     effort to evade infringement liability, Defendants have made a significant effort to
               10
                     conceal the true identities and locations of the developers of the Infringing Game.
               11
                     For example, Defendants have distributed and marketed the Infringing Game using
               12
                     a variety of shell companies located in Hong Kong and the British Virgin Islands.
               13
                     Blizzard is informed and believes, and on that basis alleges, that the individual
               14
                     Defendants (Wang and Zhou) created, manage, and run many of these shell
               15
                     companies and did so as part of an overarching scheme to deceive Blizzard or
               16
                     members of the public. Accordingly, discovery is necessary to determine the
               17
                     names and locations of all of the people and entities involved with the Infringing
               18
                     Game.
               19
               20
                                                FIRST CLAIM FOR RELIEF
               21
                                                    Copyright Infringement
               22
                              45.   Blizzard realleges and incorporates by reference the allegations in
               23
                     paragraphs 1through 40, as if set forth fully herein.
               24
                              46.   Blizzard is the owner of valid and registered copyrights in each of the
               25
                     Warcraft Games.
               26
                              47.   Defendants have infringed, and are continuing to infringe, Blizzard’s
               27
                     copyrights in the Warcraft Games by reproducing, adapting, distributing, publicly
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Silberberg &         performing, and publicly displaying, and authorizing others to reproduce, adapt,
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                1 distribute, publicly perform, and publicly display copyrighted elements of the
                2 Warcraft Games without authorization, in violation of the Copyright Act, 17
                3 U.S.C. § 101 et seq.
                4             48.   Blizzard has never authorized or given consent to Defendants to use
                5 their copyrighted works in the manner complained of herein.
                6             49.   Defendants’ acts of infringement are willful, in disregard of, and with
                7 indifference to Blizzard’s rights.
                8             50.   As a direct and proximate result of the infringements alleged herein,
                9 Blizzard is entitled to damages and to Defendants’ profits in amounts to be proven
               10 at trial, which are not currently ascertainable. Alternatively, Blizzard is entitled to
               11 maximum statutory damages of $150,000 for each copyright infringed, or in such
               12 other amount as may be proper under 17 U.S.C. § 504(c).
               13             51.   Blizzard further is entitled to its attorneys’ fees and full costs pursuant
               14 to 17 U.S.C. § 505.
               15             52.   As a result of Defendants’ acts and conduct, Blizzard has sustained
               16 and will continue to sustain substantial, immediate, and irreparable injury for
               17 which there is no adequate remedy at law. Blizzard is informed and believes, and
               18 on that basis alleges, that unless enjoined and restrained by this Court, Defendants
               19 will continue to infringe Blizzard’s rights in the Warcraft Games. Blizzard is
               20 entitled to temporary, preliminary, and permanent injunctive relief to restrain and
               21 enjoin Defendants’ continuing infringing conduct.
               22
               23                                   PRAYER FOR RELIEF
               24             WHEREFORE, Blizzard prays that this Court enter judgment in its favor on
               25 each and every claim for relief set forth above and award it relief including, but not
               26 limited to, an Order:
               27             1.    Preliminarily and permanently enjoining Defendants, their officers,
  Mitchell     28 employees, agents, subsidiaries, representatives, distributors, dealers, members,
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                1 affiliates, licensees, internet service providers, and all persons acting in concert or
                2 participation with them, or under their direction or control, from any of the
                3 following activities:
                4                 (a)   Distributing, reproducing, uploading, making available for
                5 download, displaying, exhibiting, publicly performing, communicating to the
                6 public, streaming, transmitting, or otherwise exploiting the Infringing Game or any
                7 other game that infringes Blizzard’s copyrights;
                8                 (b)   Enabling, facilitating, permitting, assisting, soliciting,
                9 encouraging or inducing, whether directly or indirectly, any user or other third
               10 party to distribute, reproduce, upload, make available for download, display,
               11 exhibit, publicly perform, communicate to the public, stream, transmit, or
               12 otherwise exploit the Infringing Game or any other game that infringes Blizzard’s
               13 copyrights;
               14                 (c)   Using, operating, maintaining, distributing, or supporting any
               15 computer server, website, software, domain name, email address, social media
               16 account, bank account, or payment processing system in connection with
               17 distributing, reproducing, uploading, making available for download, displaying,
               18 exhibiting, publicly performing, communicating to the public, streaming,
               19 transmitting, or otherwise exploiting the Infringing Game or use or any other game
               20 that infringes Blizzard’s copyrights;
               21                 (d)   Enabling, facilitating, permitting, assisting, soliciting,
               22 encouraging or inducing, whether directly or indirectly, any user or other third
               23 party to visit any website, including but not limited to any website operated by
               24 Defendants, that hosts, links to, distributes, reproduces, copies, downloads,
               25 uploads, makes available for download, displays, exhibits, publicly performs,
               26 communicates to the public, streams, transmits, or otherwise exploits the Infringing
               27 Game or any other game that infringes Blizzard’s copyrights;
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                1                  (e)   Assisting, aiding or abetting any other person or business entity
                2 in engaging in or performing any of the activities referred to in this Paragraph.
                3             2.   Requiring Defendants, pursuant to 17 U.S.C. § 503, to deliver to
                4 Blizzard all copies of materials that infringe or violate any of Blizzard’s rights
                5 described herein, including but not limited to any copies of the Infringing Game
                6 and its source code and all servers, hard drives, or computers on which the
                7 Infringing Game is stored and maintained.
                8             3.   Requiring Defendants or their service providers, including Facebook,
                9 Twitter, Xsolla, and Yesup Ecommerce Solutions, Inc., to delete or remove all
               10 social media accounts and pages related to the Infringing Game and to immediately
               11 delete or remove all materials related to the Infringing Game from their servers.
               12             4.   Requiring Defendants to provide Blizzard with an accounting of any
               13 and all revenue and profits derived from the Infringing Game.
               14             5.   Requiring Defendants and their officers, servants, employees, agents
               15 and any persons who are, or on notice and upon continued provision of services
               16 would be, in active concert or participation with them, including but not limited to
               17 the domain name registrars and registries administering, holding, listing, or
               18 otherwise having control over the domain name h5.gs.instantfuns.com or any other
               19 domain name used in connection with Defendants’ infringing activities (including
               20 but not limited to GoDaddy.com) to transfer such domain name to Blizzard’s
               21 ownership and control, including, inter alia, by changing the registrar of record to
               22 the registrar of Blizzard’s choosing, unless Blizzard requests that such domain
               23 name be held and/or released rather than transferred.
               24             6.   Declaring that Defendants willfully infringed Blizzard’s copyrights.
               25             7.   Awarding Blizzard monetary relief including damages sustained by
               26 Blizzard in an amount not yet determined, including actual damages and/or
               27 Defendants’ profits, or statutory damages for copyright infringement and willful
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               1 copyright infringement, in an amount up to $150,000 per infringed work under 17
               2 U.S.C. § 504, as appropriate.
               3              8.   Awarding Blizzard its costs and attorneys’ fees in this action pursuant
               4 to 17 U.S.C. § 505, 17 U.S.C. 512(f) and other applicable laws.
               5              9.   Awarding such other and further relief as this Court may deem just
               6 and appropriate.
               7
               8 DATED: August 16, 2019                    MARC E. MAYER
                                                           MARK C. HUMPHREY
               9                                           MITCHELL SILBERBERG & KNUPP LLP
               10
               11                                          By:    /s/ Marc E. Mayer
                                                                  Marc E. Mayer
               12                                                 Attorneys for Plaintiff
                                                                  Blizzard Entertainment, Inc.
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               1                                DEMAND FOR JURY TRIAL
               2
               3              Plaintiff Blizzard Entertainment, Inc. (“Blizzard”) hereby demands a trial by
               4 jury on all issues so triable.
               5
               6 DATED: August 16, 2019                     MARC E. MAYER
                                                            MARK C. HUMPHREY
               7                                            MITCHELL SILBERBERG & KNUPP LLP
               8
                                                            By:    /s/ Marc E. Mayer
               9                                                   Marc E. Mayer
                                                                   Attorneys for Plaintiff
               10                                                  Blizzard Entertainment, Inc.
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